 

Case 1-17-46613-nh| Doc 53-1

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` America's Most Convenient Bank°

 

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BRACHA CAB CORP

D!P CASE 17-46613 EDNY
1281 CARROLL. ST
BROOKLYN NY 11213

Filed 04/17/18 Entered 04/17/18 16239:27

T STATEN|ENT OF ACCOUNT

Page:

Statement Period:

Cust Ref #:

1 of2
Mar 01 2018-M:\r21?018

Prir'nary Account #: __ .____

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Chapter 11 Checking

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DlP CASI". 17-46613 l".Df\`Y

Account #

 

 

 

 

 

 

 

 

ACCOUNT SUMMAR‘¢'
Begirming Ba|ance 6,166.56 Average Col|ected Ba|ance 5,933.55
Electronic Deposits 2.200.00 lnterest Earned This Period 0,00
1nterest Paid Year-to-Date _ 0.00
Checks Paid 4,166.56 Annuai Percentage Vie[d Earned 0.00%
E|ectronic Payments 25.00 Days in Period 31
Ending Balance 4,175.00
DA|LY Accou NT AchvlTY
E|ectronic Deposits
POST:NG uATE neschPTloN AMouNT
03/01 CCD DEPOSIT. WAH_|NG MGN|T LESEE FEES 2,200.00
Subtotal; 2,200.00
Checks paid No_ Checks: 1 '|ndicates break in serial sequence or check processed elec\ronica|ly and listed under Elecironic Payments
nme sERlAL mo. AmouNT
03)'14 1002 4.166.56
Subtota|: 4,166.56
Electronic Payments
Pos~rmc; nme DESchPnoN AMouNT
03/15 CCD DEB|T, NYS DTF CT TAX PAY|VINT 000000028687516 25.00
Subtota|: 25.00
DA|LY BALANCF. SuMMARY
DATE BALANCE DATE BALAN{:E
02/28 6,166.56 03/14 4,200.00
03/01 8,366.56 03/15 4,175.00

Call 1-800-937-2000 for 24~hour Bank-by-Phone services or connect to www.tdbank.com

 

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CaSe 1-17-46613-nh| DOC 53-1 Filed 04/17/18 Entered 04/17/18 16239:27

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America's Most Convenient Bank' T STATEMENT OF ACCOUNT

 

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D|P CASE 17-46618 EDN\’ Statement Period: Mar 01 2018-haar 31 2018
1281 CARROL.L ST Cust Ref#: ;
BROOKLYN NY 11213 PrimaryAccount #;

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Chapter 11 Checking

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Account #
unum-z 17_45611< F.l).\'\'
ACCOUNT SUMMARY
Beginning Ba|anqe 13,966.56 Average Col|ected Ba|ance 7,172.26
Electronic Depos\ts 2,600.00 interest Eamed This Period 0.00
Intere__st Paid Year-to-Dale 7 0.00
Chec|<s Paid 11,966.56 Annua| Percentage Yield Earned 0.00%
E|ectronic Payments 25.00 Days in Period 31
Ending Balance 4.575.00
DAE\_Y ACCOUNTACTIV\TV
Electronic Deposits
POST:NG DATE DESCR|PTION Amoum
03130 CCD DEPOS|T, ACL MEDALL|ON CORP PAY 442 443 2.600.00
Subtota!: 2,600.00
Checks paid No_ Checks; 1 ‘Indicafas break in serial sequence or check p:ocassed elec|mnica|lyand lisied under Elac|mnic Paymants
DATF_ sEnlAL No. Amoum
03/14 1003 11,966.56
Subtota|: 11,966.56
Electronic Payments
Posnwe DATE DESCRH=TION AMOUNT
03/15 CCD DEBIT, NYS DTF CT TAX PAYMNT 000000028687494 25.00
Subtota|: 25.00
DA|LY BALANCE SUMMARV
omni BALANCE DATE BALANCE
02/28 13 ,966.56 03/15 1.975.00
03/14 2.000.00 03/30 4,575.00

Ca|l 1-800~937-2000 for 24-hour Bank-by-Phc)ne services or connect to Www.tdbank.com

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Case 1-17-46613-nh| DOC 53-1

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DIP CASE 17-46614 EDNY
1281 CARROLL ST
BROOKLYN NY 11213

Chapter 11 Checking

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Page: 1 012
Statement Perlod: N|ar 01 201B~Mar 31 2018
Cust Ref#: -

Prkrnary Account #:

Accouni # d

 

ACCOUNT SUMMARY

 

 

 

 

 

 

 

Beginning Balance 6,766.56 Average Co||ected Ba|ance 6,385.17
E|ectronic Deposits 2,400.00 [nterest Earned This Period ' 0_00
lnlerest Paid Year-to-Date 0.00
Cnecks Paid 4,766.56 Annual Perc`en`tage Yielci Earned 0.00%
E|ectronic Payments 25.00 Days in Period 31
Ending Ba|ance 4.375.00
DA|LY ACCOUNT ACTNITY
E|ectronic Deposits
PoanG ama DESCR\PTION AmouNT
03/01 CCD DEPOS|T. WA|L|NG MGMT LESEE FEES 2,400.00
Subtola|; 2,400.00
Checks Paid No_ Checks: 1 '|m|icates break in serial sequence or check plucessod alechnnica||yand lis|ed under E|ecl:onic Paymenls
DATE sc-:ch. No. Amour\n
03/14 1002 4,766.56
Subiota|: 4,766.56
Electronic Payments
Posnne nme meschP'noN AMOuNT
03/15 CCD DEB|T. NYS DTF CT TAX PAYN|NT 000000028687487 2500
Subtota|: 25.00
DNLY BALANCE sun/mlAR‘x'
nan BALANCE DATE BALANCE
02/28 6,766.56 03/14 4,400.00
03/01 9,166.56 03/15 4,375.00

Cal| '1-800-937-2000 for 211-hour Bank-by-Phone

services or connect to www.tdbank.corn

 

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F|T TAX| CORP

DlP CASE 17-44620 EDNY

1281 CARROLL ST

BROOKLYN NY 11213

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Chapter 11 Checking

Filed 04/17/18 Entered 04/17/18 16239:27

T STATEN'|ENT OF ACCOUNT
Page: 1 012
Statement Period: Mar 01 2018-wier 31 2018

Cust Ref #:
Primary Account #:

 

 

 

 

 

 

Fr'r"nm comr Account # -
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ACCOUNT SU MMARY
Beginnr'ng Balance 15,166.56 Average Co|lected Balance 7,501.23
E|eclronrc Deposrts 2,900.00 lnleresi Earned This Period 0.00
' lni_c_zresl__l?aid Year-to-Date 0.00
Checks l_=’ard 13,500.00 Annua| Percentage Yield Earned 0.00%
Eleciromc Paymenis 25.00 Days in Perioci 31
Ending Balance 4,541.56
DAlLY ACCOUNT ACTlVrTY
Electronic Deposits
Posnr~ze oATE DEscRrPTroN Amouur
03!30 CCD DEPOS|T. ACL MEDALLION CORP PAY 450 451 452 2,900.00
Subiotal: 2,900.00
Checks paid No_ Chacks: 1 '!ndicales break in serial sequence or check processed ulsctronica!|y and listed under Elaclronic Paymanls
oan sERuu. No. AmouNT
03/14 1003 13,500.00
Subtotal: 13,500.00
Electronic Payments
PosrrNG DATE oESchPTloN Aruouur
03/15 CCD DEB|T, NYS DTF CT TAX PAYMNT 000000028687463 25.00
Subtolal: 25.00

 

DA|LY BALANCE SUMMARY

 

oATE BALANCE
02/28 15.166.56
03/14 1,666.56

Ca|l 1-800-937-2000 for 24~hour Bank-by-Phone

DATE

03115
03130

BALANCE

1,641.56
4.541.56

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JACKHEL CAB CORP Page: 1 Of 2
D|P CASE 17_4@645 EDNY Statemeni Periocl: Mar 01 2018-litter 31 2018
1281 CARROLL ST Cust Ref#:

BROOKLYN NY 11213 PrirnaryAccount#:

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Chapter 11 Checking

 

 

 

 

 

 

 

 

JACKr-u-;l. r.‘.~\ts CORP Account # t
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ACCOUNT SUMMARY
Beginning Batance 12.066.57 Average Co||ected Ba|ance 7,981.94
E|ectronic Deposiis 2,200.00 interest Earned This Period 0_00
interest Paic| Year-to-Date 0.00
Checks Paid 10,066.57 Annua| Percentage Yieicl Earned 0.00%
E|ectronic Payments 25.00 Days in Period 31
finding Balance 4,175.00
DAILY ACCOUNT ACTlvtTY
Electronic Deposits
PosTrNo ome oEscR:PTloN Arrroul\'r
03/07 CCD DEPOS|T, NAPASE| MANAG EME ACl-i PNlT 5034070068 2.200.00
Subtotal: 2.200.00
Checks paid No_ Checks: 1 'lndicales break in seri:d sequence or check proceeserleleclronica||yand lisiud under Eleclronic Paymenls
oATE SERlAL No. Ar-rrouNT
03/14 1002 10,066.57
Subtota|: 10,066.57
Electronic Payments
PoeTlNe oATE oEscRrPTroN ArrrouNT
03/15 CCD DEBlT, N¥S DTF CT TAX PAYMNT 000000028587514 25.00
Subiolal: 25.00
DA|LY BALANCE SUMMARY
DATE eALANcE oATE BALANCE
02128 12.066.57 03/14 4,200.00
03/0? 14,266.57 03/15 4,175.00

Call 1-800-937-2000 for 24~hour Bank-by-Phone services or connect to Www.tdbank.com

 

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JARUB TRANS CORP Page: 1 of 2
D|P CASE 17_46639 EDNY Statement Period: Mar 01 2018-liner 31 2018
1281 CARROLL ST Cust Ref#:
BROOKL.YN NY 11213 Primary Account #:
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§ Chapter 11 Checking
v J.Alttlli 'l'R.~\NS C(}Rl‘ Account #
lJll’C:\S]i 17-46639 t-`.l).\`Y
ACCOUNT sUMMARY
Beginning Ba|ance 5.716.56 Average Collected Ba|ance 5,480.33
E|ectromc Depesrts 2,400.00 lnterest Earned This Period 0.00
. interest Paid Year-to-Date _ _ 000
Checl<s F-"ard 3,716.56 Annual Percentage Yielcl Earned 0.00%
Electronic Payments 25.00 Days in Periocl 31
Ending Balance 4,375.00
DA|LY ACCOUNT ACTlVlTY
E|ectronic Deposits
PosTrNe oan oescr~rie'non Amourn
031'07 CCD DEPOSIT. NAPASE| MANAGEMEACH PNlT 5034070074 2,400.00
Subtota|: 2,400.00
Checks paid N{,_ Chacks; 1 'lndicates break in serial sequence ur check processed eleclrenicallyand listed under Eleclronic Peyments
ean seem No. Arirourn
03/14 99 3.716.56
Sul:)total: 3.716.56
Electronic Payments
Posrrr\re DATE oEschPrroN ArviourrT
03/15 CCD DEB|T. N\’S DTF CT TAX PAYNlNT 000000028687493 25.00
Subtotal: 25.00
oArr_Y emenr\rcr: sumrrinev
ome eALANcE DATE BALANCE
02!28 5,716.56 03!14 4,400.00
03/07 8,116.56 03/15 4,375.00

 

Call 1-800»937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

 

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uPGR b Contact your Relationship N|anager to discuss
JARUB TRANS CORP 57954 targeted solutions for your evolving business needs.

1281 CARROLL STREET
BROOKLYN NY 11213

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ACCOUNT SUN|MARY FoR PERloD MARCH 01, 2018 - MARCH 30, 2018

 

(_§_onjr__i]'_re[cie_l___€_l_'re_c§i_r_i_g_____ _ IARUB TRANS CORP
Previous Ba|ance 02/28/18 $1,214.00 Number of Days in Cyc|e 30
0 Deposits/Credits $0.00 l\/|inimum Balance This Cyc|e 51,202.00
0 Chec|<s/Debits 5000 Average Co||ected Balance S‘l,214.00
Service Charges ($12.00)
Ending Ba|ance 03/30/18 $1,202.00

ACCOUNT DETA|L FoR PERloo rvrAecH 01, 2018 - MARCH 30, 2018

_Commercial_Ch_e__r_:_k_i_ng _____.|ARUB TRANS CORulj_

_77_77 7 7777777777777 __ _____ 779§;@%.“[[.=”;¢_1_1{§_______Wr'thdrewals/Debits Resultr'ng Bal'ance
93_/§_?___'§/13int€nan§€stresses, _ __ s12.00 $1.202_£9

Total' $0.00 512.00

 

 

 

 

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03/31 Nlaintenance charge , . . ($12.00)
Tota| Cycie 5ervice Charge ($12.00)

Thank you for banking Wr`th us. pAGE 1 OF 2

Producis and services are uttered by Capital Onc, N.A., Member FDICv
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D|F’ CASE. 17-46647 EDNY Sfatemen“i Period: N|Br 01 201B-Mar31 2018
1281 CARROLL ST Cust Ref #: ‘

BROOKLYN NY 11213 Prirnery Account #;

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Chapter 11 Checking
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Account#
Drr> cas 13 weren r-'.r)x\'
ACCOUNT SUii/‘|MARY
Beginning Ba|ance 14,566.57 Average Col|ected Baiance 9_143_13
Eiectrenic Deposits 2,400.00 interest Earned 'l'his Period 0.00
interest Paici Year~to-Date 0.00
Cnecks Paici 12,650.00 ' ' Annual Perceniage Yieid Earned 0.00%
Eiectronic Payments 25.00 Days in Peried 31
Enciing Beiance 4,291.57
DAELY ACCOUNT ACT|V|TY
Eiectronic Deposits
Posrlue oATE eescelerrow Amour\rr
03f07 CCD DEPOS|T, NAPASE| |VIANAGEME ACi-i PNiT 5034070036 2,400.00
Subtota|: 2,400.00
Checks paid No_ Checks; 1 'indicaies break in serial sequence dr check processed eiectronicaiiyand listed under Eiectrenic Peymenis
cme seem No. Ar~.rour\rr
03/14 1002 12.650.00
Subtotal: 12,650.00
Eiectronic Payments
PosTlNG nme oEschPTroN AMouNT
03/ 15 CCD DEB|T, NYS DTF CT TAX PAYMNT 000000028687488 25.00
Subtoia|: 25.00
DAll.Y BALANCE suMMARY
oATE BALANCE DATE eALANcE
02/28 14,566.57 03/14 4.316.57
03107 16,966.57 03/15 4.291.57

Caii 1-800~937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

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Case 1-17-46613-nh| DOC 53-1

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STATEMENT OF ACCOUNT

 

 

 

 

 

 

 

 

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'~""I" D|P CASE 17~46619 EDNY Statement Period: |Viar 01 201 8¢Mar 31 2018
' 1231 cARROl_L sT Cusr Ref #:
BROOKLYN NY 11213 PfimaryACCOunt#-'
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Chapter 11 Checi<ing
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ACCOUNT SUMN`\ARY
Beginning Balance 13.966.56 Average Co||ected Ba|ance 7,172.26
E|ectronlc Deposits 2.600.00 interest Earned This Period 0_00
interest Pald Year-to-Dete 0.00
Cnecks Paid 11,966.56 Annuai Percentage Vield Earned 0.00%
E|ectronic Payments 25.00 Days in Period 31
Ending Balance 4.575.00
DA|L‘¢' ACCOUNT AC`l'iVlTY
Electronic Deposits
POsTiNG DATE DEScRsPTroN Amoum
03/30 CCD DEFOS|T, ACL lViEDALL|ON CORP PAY 438 439 2,600.00
Subtotai: 2,600.00
Checks paid NO_ Chacks; 1 'lndicaies break in serial sequence or check processed r:ie¢;lrc;»nic:aii\,l and listed under Eiec|ronic Paymenls
more sERrAL No. Amoum
03/14 98 11,966.56
Subtolai'. 11 ,966.56
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03/15 CCD DEBIT, NYS DTF CT TAX PAYN|NT 000000028687518 25_00
Subtolai; 25.00
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DATE eALANcE 13an BALANCE
02/28 13.966.56 03!15 1,975.00
03/14 2,000.00 03/30 4,575.00

Caii 1-800-937-2000 for 124-hour Bank-by~Phone

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Case 1-17-46613-nh| DOC 53-1

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America‘s Niost Convenient Bank'

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Page: 1 012

 

 

 

 

 

 

 

 

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1281 cARRol_L sr Cusi Ref #f #
?§ BROOKLYN NY 11213 Prlmary ACCOUHT. #Z
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Chapter 11 Checking

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r)n»cAsu 17-46644 r-;r)_\'\-'

ACCOUNT sUMMARY

Beginning Ba|ance 14.066.57 Average Co||ected Ba|ance 8,933_50

Electronic Deposits 2.400.00 interest Earned This Period 0,00

interest Paid Year-to-Date 0.00

Checks Paid 12,150.00 Annuai Per`ce`nta`ge Yield Earned 0.00%

Electronic Payments 25.00 Days in Period 31

Ending Ba|ance 4,291.57

DA|LY ACCOUNT ACTlvlTY

Electronic Deposits

Pos'rlwo DATE DEscRIPTloN m.-rounr

03/07 CCD DEPOS|T, NAPASE| MANAGEMEACH PlVlT 5034070048 2,400.00
Subtotai: 2,400.00

Checks paid Na‘ Chacks: 1 ‘|ndiceles break in serial sequence or check processed electronically lend listed under E|ecironic Payments

ean sERlAL No. ArvrouNT

03/14 98 12,150.00
Subtota|; 12,150.00

Electronic Payments

Posnr\le nan DEschPTloN AMOUNT

03/15 CCD DEBiT. NYS DTF CT TAX PAYMNT 000000028687443 25.00
Subiota|: 25.00

DAH_Y BALANCE sum MARY

DATE eALANcE DATE BALANCE

02/25 14.066.57 03/14 4,316.57

03!07 16,466.57 03/15 4,291.57

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NY ENERGY TAX| COFEP Page: 1 O§ 2
DiP CASE 17-446¢15 Statement Period: N'iar 01 2018-tiller 31 2018
1281 CARROLL ST CUS! Ref#:

BROOKLYN NY 11213 PrimaryAccount #:

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Chapter 11 Checking
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ACCOUNT SUMMARY
Beginning Ba|ance 12\058.57 Average Col|ected Balance 7,978.59
Eiectronic Deposits 2,200.00 interest Earned This Period 0.00
interest Paid Yeer-to-Date __ 0.00
Checks Paid 10,058.57 Annua| Percentage Vieid Earned 0.00%
E|ectronic Payments 25.00 Days in Perioci 31
Ending Baiance 4,175.00
DAILY Accour\rr Ac'rlvrTY
Eiectronic Deposits
Posrrnc ome DEscRiPTroN Arrioum
03/07 CCD DEPOSIT, NAPASEI MANAGEMEACl-i Pi\ii`i' 5034070050 2,200.00
Subtotai: 2.200.00
Checks Paid Nn. Checks: 1 ‘i¢lc.iicales break in serial sequence or Check processed electronical|yaud listed under Eieclronic Paymenis
nme seemi_ No. Arrroum
03/14 99 10,058.57
Subtotai: 10,058.57
Eiectronic Payments
PosTiNc cme neschPT:on AmouNT
03!15 CCD DEBiT. NYS DTF CT TAX PAY|V|NT 000000028687447 25.00
Subiotai: 25.00
DA\LY BALANCE suMMARY
nan BALANCE DATE BALANCE
02/28 12.058.57 03/14 4.200.00
03,'07 14,258.57 03!15 4.175.00

 

 

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Case 1-17-46613-nh| DOC 53-1

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America's N|ost Convenient Bank’

 

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NY GENES|S TAX| CORP
DIP CASE 17-46617 EDNY
1281 CARROLL ST
BROOKL.YN NY 11213

Chapter 11 Checking
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STATEMENT OF ACCOUNT

Page: 1 0f2
Staternent Period: Niar 01 2018-Mar31 2013
Cust Ref#:

Primary Account #:

Accour\t #

 

ACCOU NT SUMMARY

 

 

 

 

 

 

 

Beginning Balance 4,766.56 Average Coiiected Baiance 7,546,46
Eiectronic Deposits 4,400.00 interest Earned This Period 0.00
interest F’aid Year-to-Date 0_00
Checks Paid 2,766‘56 Annuai Percentage Yield Earned 0.00%
E|ectronic Payments 25.00 Days in Perioct 31
Endir\g Baiance 6,375_00
DA\LY ACCOLINT ACT|V!TY
Eiectronic Deposits
PosTrNG r)ATE DESchPTroN AMouNT
03/01 CCD DEF’OS|T. WA|LiNG MGMT LESEE FEES 4.400_00
Subtotal; 4,400.00
Checks paid NO, Chacks: 1 ‘lndiceles break in seria! sequence or check procesle electronically and listed under Eiectronio Payments
DATE sERIAL NO. Ar-¢roum
03/14 1002 2,766.56
Subtotai: 2,766.56
Electronic Payments
PosTlNe DATE oEscRiPTioN Ar»iounr
03/15 CCD DEB|T. NYS DTF CT TAX PA\’MNT 000000028687469 25.00
Subtoiai: 25.00
DA|LY BALANCE SUMMARY
omni BALANCE DATE BALANCE
02)'28 4,766.56 03/14 3.400.00
03/01 9,166.56 03/15 6.375.00

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Case 1-17-46613-nh| DOC 53-1

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America's Most Convenient Bank°

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DiP CASE 17-46642 EDNY
1281 CARROLL STREET
BROOKLYN N‘( 11213

Chapter 11 Checking

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STATEMENT OF ACCOUNT

Page; 1 012
Statement Period; Mar 01 2018-liner 31 2018
Cust Ref #.‘ -
Primary Account #:

 

 

 

 

 

 

 

 

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nw cma 11-4664: 1-;[).\'\'
ACCOUNT SUMMARY
Beginning Balance 12.066.57 Average Co|iected Balance ?,981.94
Eiectronic Deposits 2,200.00 interest Eamed This Period 000
interest Paid Year-to-Dale 0.00
Checks Paicl 10.066.57 Annua`l Per`t:e"ntage ¥ieid Earned 0.00%
Eiectronic Payments 25.00 Days in Period 31
Ending Baiance 4,175.00
DA;LY AccouNT AchvlTY
Eiectronic Depos its
PosTlr\.'G ean DEschP'noN AMouNT
03/0? CCD DEPOSIT, NAPASE| NiANAGENlEACi-i Pl\liT 5034070060 2,200.00
Subtctai: 2,200.00
Checks paid Nn_ Chacks: 1 ‘lnclicntes break in social sequence or check processed electronicallyand listed under Eleclronio Paymenls
oan ssnlnL No. nmouNT
03/14 98 10,066.57
Subtota|: 10,066.57
Electronic Payments
Posi'rnc mrs nEscmPTroN AMOuNT
03115 CCD DEB|T, NYS DTF CT TAX PAYii/ii\iT 000000028687438 25.00
Subtotai: 25.00
DAILY BALANCE suMMARY
ean BALANCE DATE BALANCE
UZlZB 12.066.57 03114 4.200.00
03/07 14,266.57 03/15 4,175.00

Cali 1-800-937-2000 for 24-hour Bank~by-Phone services or connect to www.tdbank.com

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D|P CASE 17-¢16641 EDNY Statement Period; Mar 01 2018-liner 31 2013
1281 CARROLL ST Cttst Ref#;

BROOKLYN NY 11213 F’rimary Account #:

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Chapter 11 Checking

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ACCOUNT SUMMARY
Beginning Baiance 9,566.57 Average Coilected Batance 6,933.56
Eiectronic Deposits 2,200.00 interest Earned This Period 0.00
interest Paid Year-to-Date 0.00
Checi<s Paid 7,566.57 Annua| Percentage ¥ieid Earned 0.00%
Eiectronic Payments 25.00 Days in Period 31
Ending Baiance 4,175.00
DAlLY ACCOUNT AC'err'I‘Y
Eiectronic Deposits
POST|NG nine DEschPTion AMOUNT
031'07 CCD DEPOSIT. NAF’ASEI MANAGEMEACH Pi\!iT 5034070069 2.200.00
Subtota|: 2,200.00
Checks paid No_ Checks_. 1 ‘|ndicales break in serial sequence or check processed electronicallyand listed under Elecironic Payments
ome ssnrAL no. Ar\»rouNT
03/14 1002 7,566.57
Subtctai: 7.566.57
Electronic Payments
r>osnnc oan DEscanTloN mount
03/15 CCD DEB|T. NYS DTF CT TAX PA\’N|NT 000000028687439 25.00
Subtotai: 25.00
DA!\_Y BALANCE suMMAnY
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02/28 9 ,566.57 03/14 4,200.00
03/07 11.706.57 03/15 4,175.00

 

 

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Case 1-17-46613-nh| DOC 53-1

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D|P CASE 17~46640 EDN`(
1281 CARROLL ST
BROOKLYN NY 11213

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Chapter 11 Checking

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STATEMENT OF ACCOUNT

Page: 1 of 2

Statement Period:
Cust Ref #:
Primary Account #:

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ACCOUNT SUMMARY
Beginning Ba|ance 14,504.57 Average Coiiected Baiance 9,110.21
Eiectronic Deposits 2,400.00 interest Earned This Period 0.00
interest Paid Year-to-Date 77 0_00
Checks Paid 12,600.00 Annuai Percentage Yieid Earned 0.00%
E|ectronic Payments 25_00 Days in Period 31
Ending Ba|ance 4,279.57
DAILY ACCOU NT ACT|V|TY
Electronic Deposits
Posrrnc DATE DEscRIPTrON AMOUNT
03107 CCD DEF’OS|Tl NAPASE| MANAGEME ACI-i Pl\/lT 5034070058 2,400.00
Subtotai: 2,400.00
Checks paid Nu_ Checks: 1 ‘lndicatns break in serial sequence er check processed eiecironicatlyand listed under Eieclronic Payments
DATE sERrAL r\io. Ar»rouur
03/14 1002 12,600.00
Subtotai: 12,600.00
Electronic Payments
PosTrNG DATE DEscRiPTloN Arrrounr
03/15 CCD DEB|T. NYS DTF CT TAX PAYN|NT 000000028687466 25.00
Subtotei: 25.00
DAH_Y BALANCE sumMARY
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02/28 14,504.57 03/14 4.304.57
03,'07 16,904.57 03/15 4,279.57

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Bank Deposirs FD£C insured | TD Bank. i't.A. | qut.')i iious|nu tender fbi

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TAMAR CAB CORP Page: 1 01=2
D|P CASE 17-46616 EDNY Staternent Period: lvlar 01 2018-litter 31 2018
1281 CARROLL ST Cust Ref#: 4 z
BROOKLYN NY 11213 PrimaryAccount#_' "

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Chapter 11 Checking

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ACCOUNT SUMMARY
Beginning Balance 13,966.56 Average Col|ected Balance 7.157.28
Electronic Deposits 2,600.00 |nterest Earned This Period 0_00
_ . lnteresLPald Year-to-D_ate. ____ _. 0.00
Checks Paid 11 ,992.36 Annuel Percentage \'ie|d Earned 0.00%
Electronic Paymenls 25.00 Days in Period 31
finding Balance 4,549.20
DA|LY ACCOUNT ACTlVlTY
Electronic Deposits
PosTlNc ome DEsthPnoN nrnoumr
03130 CCD DEPOS|T, ACL MEDALL|ON CORP PAY 440 441 2,600.00
Subtotal: 2,600.00
Checks Paid No. Chacks: 1 'lncl'rr;ales break in serial sequence or check processed electronically and lisled under Eloclronic Paymanls
oan sER:AL No. AmouNT
03/‘|4 1002 11,992.36
Subtota|: 11 ,992.36
Electronic Payments
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03!15 CCD DEBlT, NYS DTF CT TAX PAYNINT 000000028687465 25.00
Subtola|: 25.00
t)AlLY BALANCE sumMARY
onth BALANcE oATE BALANCE
02/28 13,966.56 03/15 1.949.20
03/14 1.974.20 03/30 4,549.20

 

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